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6
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7    United States of America

8
                           IN THE UNITED STATES DISTRICT COURT
9
                               EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                CASE NO.    1:13-CR-00188 LJO-SKO
12
                                              STIPULATION AND ORDER CONTINUING
13                  Plaintiff,                SENTENCING HEARING

14             v.                             Old Date:    February 23, 2015
                                              Old Time:    8:30 a.m.
15   SANTIAGO PALACIOS-HERNANDEZ,
                                              Date:       March 9, 2015
16                                            Time:       8:30 a.m.
                    Defendant.                Courtroom: Four
17                                                  (Hon. Lawrence J. O’Neill)

18

19
          Defendant SANTIAGO PALACIOS-HERNANDEZ pleaded guilty on December
20
     9, 2014, to Count One of the Indictment in this case.          Defendant’s
21
     sentencing hearing currently is scheduled for February 23, 2015, at
22
     8:30 a.m.
23
          Co-defendant Juan Ramon Curiel currently is scheduled to be
24
     sentenced on March 9, 2015.         In order to economize resources on the
25
     part of the Court, the government and the victims who may wish to
26
     attend the sentencing, the parties therefore hereby stipulate and
27
     jointly request that the Court order that the defendant’s sentencing
28

      STIPULATION AND [PROPOSED] ORDER        1
      CONTINUING SENTENCING HEARING
30
          Case 1:13-cr-00188-LJO-BAM Document 44 Filed 01/08/15 Page 2 of 2


1    hearing in this case be continued from February 23, 2015, to March 9,

2    2015, at 8:30 a.m., such that both the defendant and co-defendant

3    Curiel are sentenced on the same date.         The parties further stipulate

4    and jointly request that the court extend the deadline to file formal

5    objections to the Pre-Sentence Report (PSR) to one week prior to the

6    continued sentencing date.

7

8    Dated:     January 8, 2015                 BENJAMIN B. WAGNER
                                                United States Attorney
9

10                                               /s/   Christopher D. Baker
                                                CHRISTOPHER D. BAKER
11                                              PATRICK R. DELAHUNTY
                                                Assistant United States Attorney
12

13
     Dated:     January 8, 2015
14                                               /s/   Katherine Hart
                                                KATHERINE HART
15                                              Attorney for Defendant
                                                  Santiago Palacios-Hernandez
16

17                                        ORDER

18        The court has reviewed and considered the stipulation of the

19   parties to continue the sentencing hearing in this case.             Good cause

20   appearing, IT IS ORDERED that the sentencing hearing is continued

21   from February 23, 2015, to March 9, 2015, at 8:30 a.m., and that the

22   deadlines to file formal objections to the Pre-Sentence Report are

23   extended as set forth above.

24
     IT IS SO ORDERED.
25

26
       Dated:    January 8, 2015                /s/ Lawrence J. O’Neill
                                           UNITED STATES DISTRICT JUDGE
27

28

      STIPULATION AND [PROPOSED] ORDER      2
      CONTINUING SENTENCING HEARING
30
